Case 1:24-cv-00045-AW-ZCB Document 8-8 Filed 03/26/24 Page 1 of1

ee REPUBLIC 2800 south Erie Street Account Number WOTSrSreres5
ye _ Massillon OH 44646-791515 Invoice Number 0870-005577831

CustomerService (800) 247-3644 vole ate So oot
RepublicServices.com/Support Previous Balance $41.12
Payments/Adjustments -$41.12
Important Information Current Invoice Charges $55.56

@ Thanks for being a loyal customer and for trusting us to
handle your recycling and waste needs responsibly while Autopayment
protecting our Blue Planet.

Payment Due Date
$55.56 February 07, 2024

PAYMENTS/ADJUSTMENTS

Description Reference Amount
Payment - Thank You 11/07 1 -$41.12

CURRENT INVOICE CHARGES

Description Reference Quantity Unit Price Amount
Jeremy Hales 2436 Main St

Peninsula, OH Contract: 9223015 (C3)

4 Trash Cart 95/96 Gal, 1 Lift Per Week

Residential Service 02/01-04/30 $55.56

CURRENT INVOICE CHARGES, AutoPayment due on February 07, 2024

Simple account access at your fingertips.

mm toda

SERVICES Autopayment $55.56

Do not Pay Payment Due Date February 07, 2024
2800 South Erie Street * Thank You For Your Automatic Payment* Account Number 3 85

Massillon OFi 44646-78166 Involce Number 0870-005577831

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Return Service Requested anges
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JEREMY HALES
5436 MAIN ST pera ert ee eta

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© 3, PENINSULA OH 44264-0645 REPUBLIC SERVICES #870

FOR RS OHIO HAULING, LLC
PO BOA 9001099
LOUISVILLE KY 40290-1099

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